Case 2:07-cr-20076-RHC-RSW ECF No. 80, PageID.205 Filed 04/24/07 Page 1 of 2



                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             NORTHERN DIVISION



UNITED STATES OF AMERICA,

             Plaintiff,

v.                                              Case No: 07-20076-16


MARLIN MORTON

             Defendant.
                                         /

             ORDER DENYING WITHOUT PREJUDICE MOTION FOR
           REINSTATEMENT OF CONDITIONS OF PRETRIAL RELEASE


      Defendant, through counsel, has filed a motion to reinstate conditions of pretrial

release but has failed to indicate whether or not the contemplated relief would be

agreed to by the government.

             Eastern District Local Rule 7.1(a) states as follows:

      “(1) The movant must ascertain whether the contemplated motion will be
      opposed. If the movant obtains concurrence, the parties may make the subject
      matter of the contemplated motion a matter of record by stipulated order.

      “(2) If concurrence is not obtained, the motion must state:
             (A) there was a conference between the attorneys or unrepresented
             parties in which the movant explained the nature of the motion and its
             legal basis and requested but did not obtain concurrence in the relief
             sought; or

             (B) despite reasonable efforts specified in the motion, the movant was
             unable to conduct a conference.

      “(3) The court may tax costs for unreasonable withholding of consent.”

      The Rule plainly requires that the movant make clear that it has conducted the

required pre-filing conference in which the nature of the contemplated motion was

explained, or in the alternative what efforts were made, without success, to engage in

such a conference. No exception is made for criminal cases. If the government were to
Case 2:07-cr-20076-RHC-RSW ECF No. 80, PageID.206 Filed 04/24/07 Page 2 of 2



agree, the motion would be moot and a mere stipulation requesting the relief could be

submitted. The court discourages motion practice that may be unnecessary and

wasteful of court and attorney time. Accordingly,

      IT IS ORDERED that the Defendant’s motion to reinstate conditions of pretrial

release [Dkt. #78] is DENIED WITHOUT PREJUDICE.




                                        S/Robert H. Cleland
                                        ROBERT H. CLELAND
                                        UNITED STATES DISTRICT JUDGE


Dated: April 24, 2007


I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, April 24, 2007, by electronic and/or ordinary mail.


                                         S/Lisa Wagner
                                        Case Manager and Deputy Clerk
                                        (313) 234-5522




                                                               2
